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 4                                 UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6                                                      ***
 7      UNITED STATES OF AMERICA,                             Case No. 2:08-cr-00025-KJD-CWH
 8                                              Plaintiff,                      ORDER
 9             v.
10      LORENZO TUCKER,
11                                            Defendant.
12
13            Presently before the Court is Defendant’s pro se Response to Order and to Correct Record

14     (ECF No. 292). Essentially, Defendant seeks reconsideration of the Court’s prior order (ECF No.

15     291) which denied his request for re-sentencing. However, Defendant has not presented new

16     evidence or arguments. His claims were already rejected by the Court. Further, at the time he filed

17     his original motion and the present motion pro se, he was represented by counsel. Finally,

18     Defendant was released from custody on July 2, 2020, with no supervised release to follow. As

19     such, the Court denies his duplicative motion.

20            Accordingly, IT IS HEREBY ORDERED that Defendant’s Response to Order and to

21     Correct Record (ECF No. 292) is DENIED.

22     DATED: May 23, 2025

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24                                                   Kent J. Dawson
25                                                   United States District Judge

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